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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

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/f” 1
ir`/// UNITED STATES OF AMERICA,

Plaintiff,

vs. Cr. No.

AUBREY CLARK,

Defendant.

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August 4, 2005, at 8:45 a.m. In port Whereof, defendant states

unto the Court that:

Defendant is returnin

Circuit, case numb 04-5389.

Undersign counsel is scheduled to commence trial in United

States v. T rman, Cr. No. OB-ZOOQl-B, on Tuesday, August 2, 2005.
The trial/is expected to last two to three days. Due to extensive

motionj nd trial preparation, counsel has been unable to meet with
,!
Mr. ark in order to discuss a possible supplemental response to

th presentence report, and any'possiblez proof. BHe eFo e, c unsel
6 16 RANTEQ

r ests an additional thirty days, to on or abmtESe 5

  
  

Thls document entered on the docket sheet |n compliance
with nme 55 and/or sz(b) Fnch on w

 
 

, James D.Todd
/ U.S. Dr`strictJudge @

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2005, in which to prepare for the sentencing hearing.

Counsel has been unable to confer with the United States, in
the person of Jerry Kitchen, Esq., Assistant United States
Attorney, with respect to this request.

WHEREFORE, defendant Aubrey Clark respectfully requests an
additional thirty' days, fron\ August 4, 2005, to on or about
September 5, 2005, in which to prepare for the sentencing hearing
in this cause.

Respectfully submitted,

wrote

APR=£E‘ R. coons

Assistant Federal Defender

200 Jefferson Avenue, Suite 200
Memphis, TN 38103

(901) 544*3895

CERTIFICATE OF SERVICE
The Office of the Federal Defender has this date delivered a
copy of the foregoing Motion to Continue the Sentencing Hearing to
Jerry R. Kitchen, Esq., Assistant U.S. Attorney, 109 S. Highland
Avenue, 3rd floor, Jackson, TN 38301.

THIS Zif:» day Of July, 2005.

QMY§WQ

APR~;L) R. GOODE

DISTRIC COURT - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 1:03-CR-10038 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

